                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

IN RE:                                                Case No. 23-31987-jda
ELITE ROOF GROUP, LLC                                 Chapter 11
     Debtor.                                          Honorable Joel D. Applebaum
________________________________/

   OBJECTION BY MORNINGSIDE 1100 CONSTRUCTORS, LLC AND
  MORNINGSIDE MAIDEN LANE, LLC TO CONFIRMATION OF PLAN
  OF REORGANIZATION FOR DEBTOR UNDER SUBCHAPTER V OF
           CHAPTER 11 OF THE BANKRUPTCY CODE


         Morningside 1100 Constructors, LLC (“Morningside Constructors”) and

Morningside Maiden Lane, LLC (“Morningside Owner,” and, collectively with

Morningside Constructors, “Morningside”) file this Objection by Morningside 1100

Constructors, LLC and Morningside Maiden Lane, LLC Confirmation of Plan of

Reorganization for Debtor Under Subchapter V of Chapter 11 of the Bankruptcy

Code (the “Objection”), pursuant to 11 U.S.C. §§1129, 1190, and 1191, and Rule

3020 of the Federal Rules of the Bankruptcy Procedure, and in support would show:



         1.        Elite Roof Group, LLC (“Debtor”) filed a voluntary petition under

chapter 11 of the Bankruptcy Code, electing to proceed as a Subchapter V debtor,

on December 14, 2023, initiating this Subchapter V Chapter 11 Bankruptcy Case

(the “Bankruptcy Case”).




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      2.     Prior to Debtor’s bankruptcy filing, Debtor had entered into the 1100

Broadway Street Subcontract Agreement (the “Morningside Agreement”) with

Morningside Constructors, agreeing to perform and complete as a subcontractor a

complete roof installation for Morningside Owners real estate project at 1100

Broadway St. (the “Project”) in Ann Arbor, Michigan. Morningside Constructors

was the general contractor on the Project.

      3.     Debtor defaulted on the Morningside Agreement and failed to properly

perform and complete the work for the roof installation at the Project. Consequently,

Morningside Constructors terminated the Morningside Agreement. As a result of

Debtor’s default under the Morningside Agreement and failure to properly perform

the roof installation work at the Project, the incomplete and defective work had to

be remedied by Morningside Constructors through retention of a replacement roof

contractor and the expenditure of additional funds to obtain the completion of the

new roof at the Project, and repair of the Debtor’s defective work. As a result,

Morningside Constructors is a creditor of the Debtor in the Bankruptcy Case in the

amount of $456, 069.25. However, Debtor failed to list Morningside Constructors

as a creditor and Morningside Constructors was not given formal notice of Debtor’s

Bankruptcy Case.

      4.     Additionally, American Builders and Contractors Supply Co., Inc.,

d/b/a ABC Supply Co., Inc. (“ABC”) has asserted claims against Morningside


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Owner and Morningside Constructors alleging that ABC furnished roofing and

construction materials (the “Materials”) to Debtor which were used on the Project

and for which ABC has not been paid by Debtor. As a result, ABC has asserted a

Claim of Lien under the Michigan Construction Lien Act (the “Construction Lien”)

against the Project through a Claim of Lien for $443,305.68, filed with the County

Clerk- Register of Deeds for Washtenaw County, Michigan on January 17, 2023.

ABC has also filed a Notice of Lis Pendens against the Project. Under the

Morningside Agreement, Debtor is liable to and indemnified both Morningside

Constructors and Morningside Owner with respect to potential claims and liens

asserted by third parties like ABC such that Morningside Owner is also a creditor of

Debtor in the amount of not less than $443,305.68. Like Morningside Constructor,

Morningside Owner was not listed as a creditor in Debtor’s bankruptcy schedules

or on Debtor’s creditor matrix nor was it provided with formal notice of the Debtor’s

Bankruptcy Case.

      5.     On March 14, 2024, Debtor filed the Plan of Reorganization for Debtor

under Subchapter V of Chapter 11 of the Bankruptcy Code (Docket #32) (the

“Plan”). The Court has set April 12, 2024, as the deadline to file objections to

confirmation of the Plan and has scheduled a hearing on any objections to

confirmation of the Plan for April 24, 2024 at 1:30 p.m.




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        6.   Morningside objects to confirmation of the Debtor’s Subchapter V

Plan.

        7.   Confirmation of the Plan should be denied because the Plan fails to

comply with the applicable provisions of the Bankruptcy Code as required by 11

U.S.C. § 1129(a)(1).    The Plan does not appropriately address the claims of

Morningside Constructors or Morningside Owner. There is no mention of their

claims anywhere in the Plan, nor anywhere else in any of Debtor’s filings in the

Bankruptcy Case. The Plan also proposes to impose an injunction against creditors

such as Morningside from the continuation of, or initiation of, claims they may have

against Debtor’s principals, Matthew Camargo or his spouse, Veronica Campanero,

and any such claims are to be fully released upon completion of the Plan. See Plan

at Section 6.5 on page 25. There is no basis in the Bankruptcy Code for non-debtors

like Mr. Camargo or Ms. Campanero to obtain the third-party injunction and release

protections proposed in the Plan. Likewise, the imposition of injunctions against

creditors claims and third-party releases of such claims against Mr. Camargo and

Ms. Campanero under the 6th Circuit decision in In re Dow Corning, Inc. 280 F 3d,

648, 658 (6th Cir. 2022) is not appropriate. As noted in Dow Corning, third party

releases are the exception, not the rule, and are a dramatic measure to be used only

in unusual circumstances. Dow Corning, 280 F. 3d at 658 This Bankruptcy Case is

not one of those. Few of the factors identified in Dow Corning necessary for third-
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party protection exist here. Debtor’s principals are not contributing significant assets

– in fact, they get to continue to run Debtor for their benefit and draw salaries while

creditors such as Morningside receive little. Also, unlike Dow Corning, there is not

overwhelming support for the injunctions and releases by impacted creditors and

none can opt-out or have the slightest chance to get paid anything near what they

are owed. Thus, Dow Corning does not support the proposed third-party protections

and confirmation of the Plan should be denied.

      8.     Essentially, Debtor seeks automatic stay and discharge protection for

its principals, even though they have not filed their own bankruptcies. Debtor seeks

a full release for Mr. Camargo and Ms. Campanero even though parties such as

Morningside may have non-dischargeable claims against them under the Michigan

Builders Trust Funding Act, Mich Comp.Laws §570.151, et.seq. (the “MBTFA”),

as it appears that Debtor and Debtor’s principals received the funds from

Morningside on the Project and did not use such funds to pay suppliers of Materials

for the Project such as ABC. Debtor and Debtor’s principals improper actions have

harmed Morningside as ABC is now asserting claims against Morningside.

Violations of the Michigan Builder’s Trust Funding Act would be non-

dischargeable in individual bankruptcy filings of Mr. Camargo or Ms. Campanero

as they were statutory trustees for the proper application of such trust funds. See




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Patel v. Shamrock Floor Covering Services (In re Patel), 565 F.3d 963 (6th Cir.

2009)(claims arising out of liability under MBTFA non-dischargeable).

      9.     The Plan also should not be confirmed as the proponent of the Plan, the

Debtor, has not complied with the applicable provisions of the Bankruptcy Code

under 11 U.S.C. Section 1129(a)(2) and the Plan has not been proposed in good faith

under 11 U.S.C. Section 1129(a)(3) as Debtor has neither scheduled nor

appropriately notified Morningside of its bankruptcy filing and the proposed Plan

seeks to discharge the claims of Morningside, potentially including claims that

would be non-dischargeable under 11 U.S.C. § 523(a) as to the Debtor’s own

violations of the MBTFA, as a statutory trustee that failed to properly comply with

the MBTFA. Likewise, as noted above, Debtor’s Plan, seeking to an impose an

injunction and a full release in favor of Debtor’s principals (potentially in connection

with non-dischargeable claims), is inappropriate under the Bankruptcy Code and

applicable law. Debtor is being used as a shield to protect its principals while failing

to satisfy to any significant extent the claims of creditors like Morningside.

      10.    Further, Debtor’s Plan provides that any causes of action of the

reorganized Debtor are specifically reserved and may be pursued by Debtor (see

Plan, Sections 5.8 and 5.9 on page 23) but the proposed discharge and injunction

provisions under the Plan prohibit any party against who the Debtor is asserting a

claim to assert a right of set-off, right of subrogation or recoupment as to any debt,


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liability or obligation to Debtor. This Plan provision is inappropriate under the

provisions of the Bankruptcy Code and applicable law. See 11 U.S.C. § 553 (which

recognizes and allows the set-off of claims in appropriate circumstances). See also,

Newell v. Wayne County, Case No. 12-14928, 2016 U.S. Dist. LEXIS 62034 *3-9

(E.D. Mich., May 11, 2016) (set-off right survives and may be exercised against

discharged debt); In re Ketelsen, 283 B.R. 208, 212 (Bankt. E.D. Tenn. 2001)

(majority of courts recognize and allow set-off of discharged debts); In re Lunt, 500

B.R. 9, 11-18 (D. Kan. 2013) (recoupment rights assertable after discharge of debt);

In re Delicruz, 300 B.R. 659, 679-684 (Bankr. E.D. Mich. 2003) (same).

Consequently, sections 1129(a)(2) and (3) are not satisfied and confirmation of the

Plan should be denied.

      11.    The Plan also fails to comply with 11 U.S.C. § 1129(a)(11) and 11

U.S.C. § 1191(b) and (c)(3). The Plan is not feasible and is not fair and equitable to

unsecured creditors like Morningside. Debtor’s projections attached to the Plan are

nothing but flights of fancy and bear no relationship to Debtor’s actual operating

performance. Debtor will not be able to make the payments provided for in the Plan.

Here, Debtor’s monthly operating reports show that Debtor will not be able to

successfully make the payments provided for under the Plan and there is no

reasonable likelihood that the Debtor will be able to make all of the payments due

under the Plan. Similarly, the Plan does not provide appropriate remedies to


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creditors in the event of a Plan default by Debtor and payments are not made to

creditors, such as the liquidation of assets (as there are no potentially valuable,

liquidatable assets held by Debtor). See 11 U.S.C. §1191(c)(3)(B). Moreover,

Debtor’s principals, who continued to enjoy the benefits of ownership of Debtor

(including payment of salaries and a proposed injunction against creditors’ claims),

are not required to forego distributions or to liquidate and contribute non-exempt or

exempt assets to cure any defaults to insure success of the Plan. Id. Clearly, the Plan

is not proposed in good faith and is not fair and equitable. Consequently,

Confirmation of Plan should be denied for these reasons as well.



      12.    WHEREFORE, for the reasons set out above, Morningside requests

that the Court enter an order denying confirmation of the Plan and also grant

Morningside such other and further relief to which it may be justly entitled.




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ELITE ROOF GROUP, LLC                            Chapter 11

     Debtor.                                     Honorable Joel D. Applebaum
________________________________/

                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 11th day of April, 2024, a true

and correct copy of the foregoing document was served via CM/ECF on all parties

registered to receive notice and via first-class U.S. mail, postage pre-paid, on the

following:

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